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                                                               January 7,2022



           via. cmail onlv i s brva{r@brvaqtprrill'com,
           J. Spencer Bryan
           Bryan & Terrill Law, PLLC
           3015 E. Skelly Drive, Suite 400
           Tulsa, OK 74105
                                                                                     Re           Lakey v. City of Wilson
                                                                                                  Our File No. 188-149


           l)ear Mr, Bryan:
                  'l'5is is in follow up to our discussion regarding your Notice of Intent to Pursue Sanctions
                                                                           basis for your proposed motion for
           and your lctter of Dccember 29,2021 Your tol.t.tn,-und the
           sanctions, is a single sentence, "Ta my ttnoikagr, the Wilson
                                                                            Police Department has never had
           anyone in that positiont,", *rritrt upp.*, in one paragraph
                                                                       of coley's and schaaf s Affidavits'

                                                                                              reads as follows:
                           As a reminclcr, the sentenoe comes at the end of a paragraph which
                           ,,ln Jnly 2019, Joshua 'l'aylor held the rank of captain with the wilson Police
                                                                                            the position of
                           Department. At no time was he ever promoted ol appointed to
                                                                             'f9 *y knowledge, the wilson
                           Acting chief of Polioe, nor any similar position'
                           PoliceDepaftmenthasneverhadanyoneinthatposition'''
           'l'he sentence in question is true and accurate standing alone and in the context of the Affidavits'
                                                                                  else served in the position of
           The paragr*ph nrakcs clear that neither Joshtta Taylor nol,anyone
                                                                                Coley was on medic$l le*ve' and
           Acting Chiel', or any *in..it*, position, during t5e time that Kevln
           specifically in July 2019. The Affidavits ii question were appended
                                                                                     to the Notice informing the
                                                                                         policy maker' (Doc #84)
           courl of our inability to reach a stipulation r*g;ding the quesiion of final
                            ,,Estar.i" Notice Regarding Slipulation", (Doc #86) setting fbrth your position on
           Ancl, you filed
           the issue.
                                                                                         sentence from one
                  Your suggestion that Defendants' file a motion to withdraw a single
                                                                                   when the sentence is true
           paragraph of the Al'fidavits is unwarranted and unnecessary, especially



            {00640444 }                                                                                                                               EXHIBIT
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  Spencer Bryan
.T.
January 7,2022
Page 2
                                                                  or reliance on thsrt sentsncs found in
and accurate. Morccver, y0ur suggs$tion that any reference
                                                        is likewise baseless' The motions to dismiss
the motion.r to dismiss or corresp$nAing replt b;'iCIf*
and corresponding briefs do not rely irpon,'quot9, cite
                                                              or ev€n referencc the sentence at issue'
                                                                                      and unneoessary'
!-;id;;;ion      tJwitnaraw references ihat do not exist would be unwarranted
                                                                    please feel fiee to contact me'
         If you have any questions or wish to discuss this further,
                                                        Sincerely




                                                            mas A. LeBlanc
TAL/dvl




  {0064a444}
